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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JACK OWENS, JEFFREY DREES, KATBLYN
MURPHY, PATRICK MANOLIAN, SCOTT
MANN, and SEAN HUSSEY, on behalf
of themselves and all others
similarly situated,

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Plaintiffs,
Vv. CIVIL ACTION
NO. 19-11835-WGY
CITY OF MALDEN,
Defendant.
YOUNG, D.Jd. October 26, 2021

CORRECTED! MEMORANDUM OF DECISION

 

1 After the issuance of a Memorandum of Decision in this
complex case, ECF No. 265, the Plaintiffs pointed out certain
factual errors, Pl.’s Request Rule 46 Relief (“Pl.’s Request”),
ECF No. 266, which the Court here corrects. The Court also
makes the following necessary factual corrections to the order
issued September 24, 2021, ECF No. 264:

1. Steven Fitzpatrick (EE ID #10638) shall be included in
the calculation of damages for the Wage Act Claim brought
under Massachusetts General Laws chapter 149, section
148. This Court notes an inconsistency with regards to
the spelling of this opt-in plaintiff’s name. See Pl.
Request 1 (“Stephen Fitzpatrick”); Pl.’s Proposed — Pinal.
J. 3, ECF No. 254 (“Steven Fitzpatrick”); Steven
Fitzpatrick Consent Opt In Plaintiff, ECF No. 69 (“Steven
Fitzpatrick”). The Court therefore utilizes the EE ID
#10638 to determine the correct spelling: Steven
Fitzpatrick. See Pl.’s Proposed Final J. 3; see also
Trial Exs. 23- 28, Detail Work Spreadsheets 2016-2021.

2. Stephen Bellavia (EE ID #10605) and Stephen C. Bellavia

(EE ID #14516) shall both be included in the calculation
of damages for the Wage Act Claim.

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Z. INTRODUCTION

Police officers in the City of Malden (collectively, the
“Plaintiffs” or “Officers”) initiated this putative class action
against the City of Malden (the “City”) to recover wages for
performing paid detail work for both the City and for third
parties. The Plaintiffs allege violations of the Massachusetts
Wage Act (the “Wage Act”), Mass. Gen. Laws ch. 149, § 148, and
the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219.

On August 28, 2019, Officers Jack Owens, Jeffrey Drees,
Katelyn Murphy, Patrick Manolian, Scott Mann, and Sean Hussey
(collectively, the “Named Plaintiffs”) filed a class-action
complaint in this Court against the City. See Compl., ECF
No. 1. On November 27, 2019, the Named Plaintiffs filed an
amended complaint. See Am. Compl., ECF No. 8.

The amended complaint alleges a violation of the FLSA in
count I, see id. (I 45, 46, (the “FLSA claim”) and the Wage Act
in count II, see id. 91 47, 48, (the “Wage Act claim”).
Specifically, the Plaintiffs claim that the City violated their
rights by unlawfully deducting an administrative fee of ten
percent from their respective wages for the provision of police
detail work. See id. @1 46, 48.

The docket in this matter contains 110 formal notices, see

Formal Notices Filing Consent Sue, ECF Nos. 34-143, filed on

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August 21, 2020, and a further three formal notices, Formal
Notices Filing Consent Sue, ECF Nos. 187-189, filed on April 15,
2021 (collectively, the “Notices”). The Notices are filed on
behalf of “current or former employee(s] of the Malden Police
Department, represented for collective bargaining purposes by
either the Malden Police Patrolmen’s Association or the Malden
Police Superior’s association” (collectively, the “Opt-In
Plaintiffs”). See, e.g., John A. Delaney’s Consent Opt In
Plaintiff (“Opt-In Sample Delaney”), ECF No. 143.2? The Notices
reference the Plaintiffs’ Wage Act and FSLA claims. See, e.g.,
id.

At a hearing on the parties’ cross-motions for summary
judgment on February 22, 2021, the Court certified a class in
relation to the Plaintiffs’ Wage Act and FLSA claims. See Tr.
zoom Hr’g Summ. J. & Final Pretrial (“Tr. Summ. J.”) 6:17, ECF
No. 198.

A five-day jury-waived trial was held remotely on the
Court’s Zoom platform between May 5, 2021 and May 11, 2021 (the
“trial”), during which the parties presented their arguments and

examined several witnesses. See Electronic Clerk’s Notes, ECF

 

2 Officer Delaney’s notice is referenced here as a sample
notice. All filed Notices are identical, save for a section
that includes space for an Officer’s manuscript signature, the
date of execution of the document, and a space for an Officer's
printed name. See Opt-In Sample Delaney 1.

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Nos. 229-235, 243-44. The Court heard evidence from Richard
Howard, former mayor of the City of Malden, on May 5, 2021 (“day
one” of the trial), see id., ECF No. 230; Gary Christensen, the
current mayor of the City of Malden, on day one and on May 6,
2021 (“day two” of the trial), see id., ECF Nos. 230, 231;
Charles Ranaghan (“Ranaghan”), the City’s controller, on day two
and on May 7, 2021 (“day three” of the trial), see id., ECF Nos.
231, 232; the City of Malden Police Chief Kevin Molis (“Chief
Molis”) on day three and on May 10, 2021 (“day four” of the
trial), see id., ECF Nos. 232, 243; City of Malden Police
Captain John Amirault on day four of the trial, see id., ECF No.
243; Margaret Sullivan, the City’s detail clerk, on day four and
on May 11, 2021 (“day five” of the trial), see id., ECF Nos.
243, 244; and from Named Plaintiff City of Malden Police Officer
Jack Owens (“Owens”) on day five of the trial, see id., ECF No.
244.

Both parties filed pre-trial briefing. See Def.’s Trial
Br. (“City’s Pre-Trial Br.”), ECF No. 197; Pls.’ Trial Br.
(“Pls.’ Pre-Trial Br.”), ECF No. 200.

The City’s motion for judgment on partial findings, Def.’s
Mot. J. Partial Findings (“Mot. J. Partial Findings”), ECF No.
237, filed during the ongoing trial on May 10, 2021, was allowed
in part and denied in part, see Electronic Clerk’s Notes, ECF

No. 243. The Court allowed the City’s motion with respect to

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Opt-In Plaintiff Heidi Mccormick and ruled that a workweek runs
from Saturday of one calendar week until Saturday of the
following calendar week. See Tr. Zoom Bench Trial (“Bench Trial
Tr. Day Four”) 75:15-24, ECF No. 261.3 The motion was otherwise
denied. Id.

The City also filed a motion to decertify the Plaintiffs’
FLSA claim on May 10, 2021. See Def.’s Mot. Decertify, ECF No.
236. The Court did not rule on the motion.

After the conclusion of the trial, the Court invited the
parties to file post-trial briefs, which the City did on May 18,
2021. See Def.’s Post-Trial Br. (“City’s Post-Trial Br.”), ECF
No. 239. The Plaintiffs filed a post-trial brief on May 28,
2021. Pils.’ Post-Trial Br., ECF No. 240.

At a hearing on June 2, 2021, the Court made its post-trial
rulings. See Electronic Clerk’s Notes, ECF No. 245; Tr. Zoom
Hr’g Rulings (“Tr. Rulings”), ECF No. 247. An order pertaining
to the timing of actions required of the parties and to other
future events yet to occur in this matter was entered on June
10, 2021. See Order (“Timing Order”), ECF No. 246. The Court’s

full written opinion is set out below.

 

3 Consequently, 112 Opt-In Plaintiffs currently remain in
this action. See generally Notices; Bench Trial Tr. Day Four
75:15-24.

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In accordance with the Court’s post-trial rulings and the
Timing Order, judgment is yet to enter regarding the individual
Plaintiffs’ entitlement to any compensation with respect to the
Wage Act claim or the FLSA claim.

II. FINDINGS OF FACT

A. General Facts

The City is a municipality located in Middlesex County,
Massachusetts. The parties agree that the City employs the
Officers who work for the City of Malden Police Department. See
City’s Pre-Trial Br. @ 2; Pls.’ Pre-Trial Br. @7 2, 3, 5, 6.
The City of Malden Police Department distinguishes between
Officers on the basis of rank. See Trial Ex. 8, Police Manual
Police Department City Malden (“Police Manual”) § I.B, II
(discussing the various roles of each rank in Section I.B.
“Rules and Regulations: Definitions” and Section II “Duties by
Rank and Assignment). Officers of Rank are Sergeants,
Lieutenants, Captains, and the Chief of Police. See Police
Manual § II (outlining duties of ranking officer in Section II
“Duties by Rank and Assignment”). According to Chief Molis’s
testimony, all City of Malden Police Officers are sworn in and
eligible to perform detail work. See Tr. Zoom Bench Trial
(“Bench Trial Tr. Day Three”) 107:13-21, ECF No. 260.

The Named Plaintiffs Jack Owens, Katelyn Murphy, Patrick

Manolian, Scott Mann, and Sean Hussey are Patrolmen. See Pls.’

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Pre-Trial Br. 99 5, 6 (providing a “complete list of
plaintiffs,” including individual rank designations). Named
Plaintiff Jeffrey Drees is an Officer of Rank, a Sergeant. Id.
The Opt-In Plaintiffs in this action include Patrolmen and
Officers of Rank. Id.

Patrolmen are members of the Malden Police Patrolmen’s
Association, Inc. (the “Patrolmen’s Union”), and Superior
Officers are members of “MassCOP Local 479” (the “Superior
Officers’ Union”) (collectively, the “Unions”). See id. 4 212,
216.

Agreements between the Unions and the City govern general
aspects of the relationship between the parties. See generally
Trial Ex. 5, Contract Between City Malden & Malden Police
Patrolmen’s Association, Inc. July 1, 2018 through June 30, 2021
(“Agreement”) (collective bargaining agreement between the City
and the Patrolmen’s Union); Trial Ex. 13, Mem. Agreement
(“Memorandum”) (agreement between the Superior Officers’ Union
and the City executed on March 2, 2021).

B. Work Schedules, Overtime, and Detail Work

Generally, some Officers work an administrative schedule,
Monday through Friday, eight hours per day. See City’s Pre-
Trial Br. J 13. Others work platoon shifts, two or three
sixteen-hour shifts per calendar week, totaling thirty-two or

forty-eight hours, with off-duty days in between. Id. @ 11.

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Officers are paid a salary that is not necessarily tied to the
number of hours worked. See Tr. Zoom Bench Trial (“Bench Trial
Tr. Day Two”) 60:14-16, ECF No. 259 (Ranaghan’s Testimony).

In addition to their routine work schedules, the Plaintiffs
in this action also regularly provide police details (“detail
work”). See Bench Trial Tr. Day Three 108-109 (Molis’s
Testimony). Detail work refers to services provided by Officers
during their off-duty hours in response to a request made by a
City Department (a “city detail” or “city detail work”) or by a
private third party (a “private detail” or “private detail
work”). See id. According to Chief Molis, the broad purpose of
detail work is to provide a public service and public safety.
See id. 105:22-24. Detail work can be planned, as for road
construction projects or scheduled strike actions, or unplanned,
such as when a water main breaks unexpectedly. See id. 108,
119-20. The overwhelming majority of detail work is private
detail work. See Bench Trial Tr. Day Four 12:23-25, 13:1-3
(Molis’s Testimony). Private detail work is provided on the
basis of an agreement between the City and the private person or
entity requesting the detail. See id. 12-13. A list of City of
Malden Departments (the “City Departments”) was provided by the
City during the trial. See Trial Ex. 45, City of Malden
Departments. According to Ranaghan, the list identifies the

City Departments that would be capable of making a request for a

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city detail. See Bench Trial Tr. Day Four 81:9-16 (Ranaghan’s
Testimony).

Chief Molis testified that all Officers are eligible to
perform detail work. See Bench Trial Tr. Day Three 107:17-19
(Molis’s Testimony). All detail work is performed on a
voluntary basis during an Officer’s off-duty hours. See id.
109:3-9. Once Officers have signed up for a detail work
assignment, they are required to attend. See id. 110:8-10.

Officers wear their uniforms, including their duty belt,
while performing detail work. See id. 112:3-5. The party
requesting a police detail generally cannot deviate from this
requirement by asking Officers to wear different clothing or
equipment. See id. 113. According to Chief Molis, while
performing detail work, Officers are bound by the rules and
regulations applicable to police details, the traffic rules, the
code of conduct, and common sense. See id. 111:19-25, 112:12-
21; see also Trial Ex. 12, Malden Police Department Detail Rules
& Procedures (the “Detail Rules and Procedures”) {1 II.9, I1.12,
II.22 (outlining the code of conduct for details under “Detail
Rules”). The scope of work for a specific detail assignment is
determined by the person or entity who requested the detail.

See Bench Trial Tr. Day Three 110:16-25, 111:8-18. That person

or entity has some control over how an Officer acts during his

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or her detail work. Id. Officers, however, are required not to
perform illegal, improper, or unsafe detail work. See id. 112.

Ranaghan testified that Officers receive compensation for
overtime work on an hourly basis. See Bench Trial Tr. Day Two
130:20-25. Prior to the execution of the Memorandum on March 2,
2021, the City did not differentiate between city detail work
and private detail work when paying Officers for detail work.
Id. 131:15-19 (Ranaghan’s Testimony). Since the execution of
the Memorandum on March 2, 2021, the City has not kept track of
overtime hours for Officers unless they are Superior Officers.
See id. 78:8-20, 87:21-25, 88:1.

c. Detail Work Organization and Fee Administration

The organization of the detail process is under the
exclusive direction and control of the detail board, which
comprises representatives and members of the Unions. See
Agreement Art. 23, § 5 (describing how the detail board is
selected and composed and endowing the detail board with the
power to “establish rules and procedures pertaining to
details . . . hear complaints pertaining to details[,] and
rectify them in accordance with the rules they establish”); id.
Art. 23, § 8 (“The detail board shall have control over all
matters having to do with details.”).

The City employs and pays a detail clerk, Margaret Sullivan

(“Sullivan”), who is not a member of a Union, see Bench Trial

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Tr. Day Three 7:6-13 (Ranaghan’s Testimony), and who organizes
and performs tasks related to detail work administration for the
Police Department, see Bench Trial Tr. Day Four 95:7-11
(Sullivan's Testimony); see also Agreement Art. 23, § 9.
Sullivan was hired by the detail board on January 29, 2010. See
Trial Ex. 22, Offer Letter Detail Clerk Margaret Sullivan.
According to Sullivan, the names of Officers interested and
willing to perform detail work are entered on a spreadsheet, see
Trial Exs. 23-28, Detail Work Spreadsheets 2016-2021 (the
“Spreadsheet”), which the detail clerk maintains, see Tr. Zoom
Bench Trial (“Bench Trial Tr. Day Five”) 8:2-7, ECF No. 262.
The Spreadsheet has existed since at least 2016. See Bench
Trial Tr. Day Two 45:16-25 (Ranaghan’s Testimony). Private
persons or entities who wish to obtain a police detail typically
contact the detail clerk on a designated telephone line and
provide preliminary information regarding the detail work
location, date and start time, and name and contact information
of the party seeking the detail. See Bench Trial Tr. Day Four
96:8-13 (Sullivan’s Testimony). The detail work is then offered
to Officers listed on the Spreadsheet, and they may accept or
reject it. See id. 97:10-25. After completing the detail work,
Officers return a slip to the detail clerk, containing basic
detail work information, including the name of the person or

entity for whom the detail work was completed, the Officer’s

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name, the location of the detail, and the hours worked. See id.
98:11-25, 99:1-2.

The Spreadsheet is maintained annually and further grouped
by Officer and pay date. See generally Spreadsheet. The
Spreadsheet also includes information related to the date,
duration of specific detail work (in hours), the party
requesting it, and the corresponding monetary value, with a
total figure for the relevant pay period. Id. Since August
2020, the Spreadsheet has been sent to Ranaghan on a bi-weekly
basis. See Bench Trial Tr. Day Two 46:4-9,

The detail clerk prepares invoices for private detail work
and sends them to the private third parties. See Bench Trial
Tr. Day Four 99:11-17. The detail clerk also processes and
deposits checks and payments received from private third parties
for private detail work into the City’s bank account. Id.
101:4-8. Payments for city detail work are received via money
transfer between the City Departments. Id. 102:14-18.

The Agreement and the Memorandum govern the rate of
compensation for paid details (the “detail rate”). See
Memorandum 1 6; Agreement Art. 23, § 3. The Agreement does not
stipulate an hourly monetary value for the detail rate. See
Agreement Art. 23, § 3 (“The base rate for paid details shall be
one and one half times the maximum patrolman’s rate of pay

including night differential.”). The Memorandum stipulates

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detail rate values applicable during certain time periods since
its execution on March 2, 2021. See Memorandum { 6.

The Court heard evidence from Chief Molis and Ranaghan that
the phrase “maximum patrolman’s rate of pay” in Article 23,
section 3 of the Agreement refers to the rate of pay of the
Patrolman who, in addition to his base pay, has accumulated the
maximum amount of additional benefits, such as Quinn Bill pay,
hazardous duty pay, longevity pay, and shift differential. See
Bench Trial Tr. Day Three 132:17-25, 133-1-4, 134:19-21 (Molis’s
Testimony) (listing Quinn Bill pay, hazardous duty pay,
longevity pay, and shift differential among the “variety of
things” that alter Officers’ rates of pay); id. 64:1-25
(Ranaghan’s Testimony) (stating the same). A new detail rate is
announced whenever pay raises or promotions have occurred. See
Bench Trial Tr. Day Five at 15:15-17. Private persons or
entities requesting a private detail are informed of detail rate
increases in memoranda that the detail clerk sends on behalf of
the detail board. See, e.g., Trial Ex. 46, Detail Board Detail
Rates Letter May 15, 2012; Trial Ex. 48, Detail Board Detail
Rates Letter Dec. 12, 2007; Trial Ex. 49, Detail Board Detail
Rates Letter Dec. 15, 2005; Trial Ex. 51, Detail Board Detail
Rates Apr. 27, 2017.

According to Chief Molis, under certain circumstances,

other rates are applied that are in excess of the detail rate,

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such as for strike pay, detail work after midnight, supervisor
detail pay, holiday detail pay, and detail work in excess of
eight hours in duration (the “Multipliers”). See Bench Trial
Tr. Day Three 127:5-25, 128:1-25 (Molis’s Testimony). The pay
rate for strike detail, for instance, is two times the detail
rate. See id. 128:9-12.

Chief Molis testified that the detail system has been in
existence since the 1980s and that the rates have evolved over
the years to include new criteria and incremental rate
increases. See id. 129:10-14.

D. Officers’ Salaries and Detail Work Compensation

According to Ranaghan, payroll is prepared by each City
Department individually. See Bench Trial Tr. Day Two 28:3-7
(Ranaghan’s Testimony). The information is entered into a
computer program, a third-party payroll system called Harper’s
Payroll, for payroll processing. See id. 31:16-25, 32:1-7.

The City issues annual W-2 forms for each Officer which
include statements related to taxes, wages, and detail wages
earned, and list the City as employer. See id. 44:1-25.

Compensation for detail work is paid out to Officers by the
City’s payroll and is included as a line-item on individual
Officers’ weekly or bi-weekly paystubs. See generally Trial Ex.
37, Officers’ Direct Deposit Records City Malden (collectively

the “Paystubs”). At a line item entitled “Regular,” the

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Paystubs list an individual Officer’s basic weekly (or bi-
weekly) salary for a number of stipulated weekly work hours
(forty or eighty), along with the respective annually

accumulated monetary value. See generally id. The Paystubs

 

also include line items that increase an individual Officer’s
basic salary, such as “Quinn (25%),”% “POLS Sr. Longevity,” “POLP
Hazardous Duty,” and “Shift Differential Police” (collectively,

the “salary augments”). See generally id.

 

The parties agree that the highest paid officers over the
operative timeframes were Edward Fitzpatrick, Trent Headley, and
Jack Owens. See Pls.’ Pre-Trial Br. 4 155.

Officers’ on-duty work times are tracked on annual timecard
spreadsheets that are grouped by calendar week (from Mondays to
Sundays), listing Officers’ names, hours worked, as well as off-
duty times (and the reasons, where relevant). See Trial Ex. 39,
Officer Timecards (collectively, the “Timecards”). The
information included in the Timecards is collected by a member
of the Police Department. See Bench Trial Tr. Day Three 12:1-3
(Ranaghan’s Testimony) (identifying Terry Ippelyito, the Chief
of Police’s Administrative Assistant, as the individual who
processes payroll for the Officers).

According to Ranaghan, the City has deducted an
administrative fee of ten percent from Officers’ compensation

for detail work from February 1, 2008 to March 2, 2021. See id.

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29:1-13 (Ranaghan’s Testimony) (affirming that the ten percent
fee has been taken out of Officers’ compensation at all times
prior the Agreement’s execution); see also Trial Ex. 6, Letter
Mayor Howard (Dec. 11, 2007) (establishing the ten percent
detail fee). The purpose of the administrative fee is to
compensate the City for running the detail program. See Bench
Trial Tr. Day Three 22:21-23 (Ranaghan’s Testimony). Then-Mayor
of the City Richard Howard instituted the administrative fee in
the detail work process effective February 1, 2008. See Trial
Ex. 6, Letter Mayor Howard (Dec. 11, 2007). Neither the
Agreement nor the Memorandum mentions the administrative fee.
See Agreement Art. 23; Memorandum 7 6. The City began charging
the administrative fee for private detail work performed by
Superior Officers directly to private contractors when the
Memorandum was executed on March 2, 2021. See Bench Trial Tr.
Day Three 29:10-13 (Ranaghan’s Testimony); see generally
Memorandum. The City has never charged private contractors
directly for the administrative fee for private detail work
performed by Patrolmen. See Bench Trial Tr. Day Three 29:14-19
(Ranaghan’s Testimony). The City has deposited all
administrative fees in the City’s ledger account. See id. 38:7-

10.

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E. The Audit

Ranaghan testified that to his knowledge, the first time an
audit was performed to determine whether the payments made to
Officers for detail work conformed with the Agreement was in
connection with the present lawsuit, upon the Patrolmen’s Union
request. See Bench Trial Tr. Day Two 85-87 (Ranaghan’s
Testimony). Previous audits were limited to reconciling
individual officers’ salary accounts with the City’s account.
See id. 34:10-16.

Owens testified that, as of May 11, 2021, the Plaintiffs
had not filed a complaint with the Massachusetts Attorney
General. See Bench Trial Tr. Day Five 51:9-11.

III. RULINGS OF LAW

A. Violation of the Wage Act For Private Detail Work

In count II of the amended complaint, the Plaintiffs claim
that the City violated Massachusetts General Laws chapter 149,
section 148 by deducting a ten percent administrative fee from
the Plaintiffs’ wages earned for private detail work. See Am.
Compl. 471 34, 47-48.

In pertinent part, Massachusetts General Laws chapter 149,
section 148 provides:

Every person having employees in his service shall pay

weekly or bi-weekly each such employee the wages

earned by him to within six days of the termination of

the pay period during which the wages were earned if
employed for five or six days in a calendar week, or

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to within seven days of the termination of the pay

period during which the wages were earned if such

employee is employed seven days in a calendar

week .
Mass. Gen. Laws ch. 149, § 148.

1. Exhaustion of Administrative Remedies Under
Massachusetts General Laws Chapter 149, Section
150

The City contends that this Court lacks jurisdiction over
the Plaintiffs’ Wage Act claim because the Plaintiffs did not
exhaust administrative remedies, viz., they failed to file a
complaint with the Massachusetts Attorney General (the “Attorney
General”) before initiating the present action in accordance
with Massachusetts General Laws chapter 149, section 150. See
City’s Post-Trial Br. 3-7. The Plaintiffs’ attorney argued
during the trial that the City waived this defense. See Bench
Trial Tr. Day Five at 28:12-24; see also Pls.’ Post-Trial Br.
14-15.

Massachusetts General Laws chapter 149, section 150
provides in pertinent part:

An employee claiming to be aggrieved by a violation of

section[] ... 148... . may, 90 days after the

filing of a complaint with the attorney general, or

sooner if the attorney general assents in writing, and

within 3 years after the violation, institute and

prosecute in his own name and on his own behalf, or

for himself and for others similarly situated, a civil

action for injunctive relief, for any damages

incurred, and for any lost wages and other

benefits ....

Mass. Gen. Laws ch. 149, § 150.

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Named Plaintiff Owens stated on day five of the trial that
neither he nor any of the other Plaintiffs ever initiated a
grievance procedure in compliance with Massachusetts General
Laws chapter 149, section 150.4 See Bench Trial Tr. Day Five
51:9-11. In their post-trial brief, the Plaintiffs do not
allege that they notified the Attorney General in the meantime
(or, up to that point, ever). See Pls.’ Post-Trial Br. 14-15.

The Plaintiffs direct the Court’s attention to the decision
of the Massachusetts Supreme Judicial Court in Depianti v. Jan-
Pro Franchising International, Inc., 465 Mass. 607 (2013), which
answered a certified question from another Session of this

Court, see Depianti v. Jan-Pro Franchising Int’l, Inc., C.A. No.

 

08-10663-MLW, 2012 WL 3835090 (D. Mass. Aug. 31, 2012) (Wolf,
J.). The certified question was:

Whether a plaintiff’s failure to exhaust
administrative remedies pursuant to Mass. Gen. Laws
ch. 149, § 150 by filing a complaint with the Attorney
General deprives a court of jurisdiction to consider
the plaintiff’s claims under Mass. Gen. Laws ch. 149,

 

4 In Malden Police Patrolman’s Association v. City of
Malden, the plaintiff “union had filed a nonpayment of wage
complaint with the Attorney General’s office” in accordance with
Massachusetts General Laws chapter 149, section 150. 92 Mass.

App. Ct. 53, 54 n.2 (2017). “By letter dated January 9, 2015,
the Attorney General’s fair labor division authorized the union
to pursue a private civil action. Id. The Plaintiffs in the

present action are not identical with h those in the Malden Police
Patrolman’s Association case. In addition, the claim in that
case concerned overdue payments for detail work rather than
unlawful withholding of a ten percent administrative fee. Id.
at 54.

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§§ 148, 148B, and 150, and under Mass. Gen. Laws ch.
151, §§ 1 and 1A.

Depianti, 2012 WL 3835090, at *3. The Massachusetts
Supreme Judicial Court answered the question as follows:
To this question, we answer, “No. oo In
determining whether a eeeeedural defect “deprives a
court of jurisdiction to hear a claim, we consider (1)
to what extent the defect interferes with the
“accomplishment of the purposes implicit in the
statutory scheme,” and (2) to what extent the opposing
party can “justifiably claim prejudice.”
Depianti, 465 Mass. at 611 (quoting Schulte v. Dir. of the Div.
of Emp. Sec., 369 Mass. 74, 79-80 (1975)).
Because the federal courts are bound by the rulings of the
state’s highest court on substantive issues when considering

that state’s laws, this Court is bound by the decision of the

Massachusetts Supreme Judicial Court in Depianti. See Phoung

 

Luc v. Wyndham Mgmt. Corp., 496 F.3d 85, 88 (ist Cir. 2007).

To file a complaint with the Massachusetts Attorney General
is a legal requirement under Massachusetts General Laws chapter
149, section 150 that cannot simply be ignored. The Court
realizes, of course, that a trial in this case has already taken
place. A judgment on the Plaintiffs’ claims under the Wage Act
or the FLSA, however, has yet to enter in this case.

In accordance with the decision of the Massachusetts
Supreme Judicial Court in Depianti, this Court ruled at the June

2, 2021 hearing that it has subject-matter jurisdiction provided

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that the Massachusetts Attorney General is notified of the
pending suit in accordance with Massachusetts General Laws
chapter 149, section 150 before judgment in this matter enters.
See Tr. Rulings 5:5-14; see also Depianti, 465 Mass. at 611.
Accordingly, the Court advised the Plaintiffs in its
Timing Order, among other things, to file a complaint within
thirty days with the Attorney General pursuant to Massachusetts
General Laws chapter 149, section 150, and invited the parties
to brief the Court as to the legal effect of any such filing,
including whether and to what extent the City may have been
prejudiced by any delay in such filing. See Timing Order
GI I.A., I.C.

After being advised by the Court to do so, see Timing Order
at I.A., the Plaintiffs’ attorney sent a notification letter to
the Attorney General’s Office on June 9, 2021.5 See Officers’
Second Post-Trial Br., Ex. A, Pl.’s Letter Attorney General
(June 9, 2021) (“Officers’ Letter”), ECF No. 251-1. The
Attorney General’s office responded to the Officers’ Letter via
a letter dated June 16, 2021. See id. Ex. B, Attorney General’s

Letter Officers (June 16, 2021), ECF No. 251-1.

 

5 The notification was apparently first attempted on the
Attorney General’s website on June 8, 2021 and later
supplemented by letter dated June 9, 2021. See Officers’ Letter
at 1.

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The Plaintiffs’ attorney now appears to suggest in an
affidavit that he notified the Attorney General’s office of the
Plaintiffs’ Wage Act claim in a telephone call in July 2020 by
speaking with “AAG Robert Quinan” and “a colleague of his” about
“the allegations of the Complaint and... the claims of this
case.” See Officers’ Second Post-Trial Br., Ex. 1, Aff. Supp.
Pls.’ Post-Trial Br. 71 6, ECF No. 251-1. No other corroboration
of that claim is offered. Id.

2. Wage Act Claim Requirements

“Tt is well established that municipalities are subject to
the Wage Act.” Malden Police Patrolman’s Ass’n v. City of
Malden, 92 Mass. App. Ct. 53, 62 (2017). To recover on a Wage
Act claim, “a plaintiff must show that: (1) he was an employee
under the Wage Act; (2) the compensation constitutes wages
pursuant to the Wage Act; (3) the Wage Act was violated; and (4)
any individual defendants were corporate officers as defined by

the statute.”® Ellicott v. Am. Capital Energy, Inc., 906 F.3d

 

164, 169 (1st Cir. 2018); see Stanton v. Lighthouse Fin. Serv.,

 

 

Inc., 621 F. Supp. 2d 5, 10 (D. Mass. 2009) (Gertner, J.).

 

6 Although a Wage Act claim requires proof of wages owed,
“the Act itself provides no substantive standard for determining
what wages are owed.” Rueli v. Baystate Health, Inc., 835 F.3d
53, 60 {1st Cir. 2016).

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The parties diverge as to whether the first, second, and
third requirements limned in Ellicott are met. See City’s Post-
Trial Br. 16-21; Pls.’ Post-Trial Br. 15-16.

a. Compensation for Work for Private Details
Constitutes Wages Under the Wage Act.

The City argues that the Plaintiffs did not provide
“services” to the City when performing private detail work and
that, therefore, they are not entitled to “wages” under
Massachusetts General Laws chapter 149, section 148. See City’s
Pre-Trial Br. 9 17, at 10; City’s Post-Trial Br. 17-21. The
Plaintiffs disagree, contending that the Massachusetts Superior
Court sitting in and for the county of Middlesex has already
ruled that compensation for private detail work constitutes
“wages” under the Wage Act. See Pls.’ Post-Trial Br. 15-16.

This Court agrees with the Plaintiffs. In Malden
Patrolman’s Association v. City of Malden, the Massachusetts
Superior Court ruled that “compensation due to officers for
detail services provided to private entities . . . does
constitute ‘wages’ as that term is defined in the Wage Act.”
No. 15CV223, 2016 WL 8232832, at *1 (Mass. Super. Ct. Feb. 09,
2016) (Henry, J.).

On appeal, the Massachusetts Appeals Court recited the
Superior Court’s ruling “that compensation earned by police

officers for the performance of detail work for third parties

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constituted ‘wages’ under G.L.c. 149, § 148.” See Malden Police

 

Patrolmen’s Ass’n, 92 Mass. App. Ct. at 62. Importantly, the

 

Appeals Court did not disturb this ruling. See id. Instead,
the Appeals Court explained that because “neither party
addressed the three-part test set forth in G.L.c. 149, § 148B,
to determine whether the union members, when performing police
details, are ‘employees’ of the city for purposes of the Wage
Act,” it was “unable to conclude that such compensation, even if
‘wages,’ is paid to ‘employees’ of the city.” Id.

In substantive legal issues involving state laws, this
Court is bound by the rulings of the state’s highest court. See
Phoung Luc, 496 F.3d at 88.

If the state’s highest court, here the Supreme

Judicial Court (“SJC”), has not definitively addressed

a question, [federal courts] may consult other sources

as [they] “make an informed prophecy” about what rule

the state courts would likely follow. That said,

however, we generally make such prophecies only on

interstitial questions. As a federal court, we will

not create new rules or significantly expand existing

rules. We leave those tasks to the state courts.

Id. (citing North Am. Specialty Ins. Co. v. Lapalme, 258 F.3d
35, 37-38 (lst Cir. 2001)). Because the Massachusetts Appeals
Court did not disturb the Massachusetts Superior Court’s ruling
that compensation for private detail work constitutes “wages”

under Massachusetts General Laws chapter 149, section 148, this

Court considers the question settled.

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This Court therefore rules that compensation received by
the Plaintiffs for private detail work constitutes “wages” for
the purposes of the Plaintiffs’ Wage Act claim.

b. Officers Performing Private Detail Work are
Employees Under the Wage Act.

For the Wage Act to apply to private detail work, the
Officers must qualify as “employees” under the Wage Act.’ See
Malden Police Patrolmen’s Ass'n, 92 Mass. App. Ct. at 63. The
City argues that Officers were not “employees” under the Wage
Act when performing private detail work. See City’s Post-Trial
Br. 16-21. The Plaintiffs assert the opposite. See Pls.’ Post-
Trial Br. 16-18.

Section 148B of the Wage Act prescribes a three-prong test
for determining whether an individual is considered an employee
for purposes of the Wage Act. See Mass. Gen. Laws ch. 149,

§ 148B. Individuals are considered employees unless:

(1) the individual is free from control and direction in
connection with the performance of the service, both under
his contract for the performance of service and in fact; and

(2) the service is performed outside the usual course of the
business of the employer; and,

(3) the individual is customarily engaged in an independently
established trade, occupation, profession or business of the
same nature as that involved in the service performed.

 

7 In Malden Police Patrolmen’s Association, the
Massachusetts Appeals Court stated, “In circumstances where
G.L.c. 44, § 53C, is applicable, there may be provisions of the
Wage Act that do not conflict with § 53C such that the two
statutes should be construed and applied harmoniously.” 92
Mass. App. Ct. at 62 n.13.

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Id. It is undisputed that all Plaintiffs are employees of the
City when on duty as police officers. See City’s Pre-Trial Br.
q 2; Pls.’ Pre-Trial Br. 171 2, 3, 5, 6. The Superior Court in

Malden Patrolman’s Association did not address whether police

 

officers working private details are considered “employees” for
purposes of the Wage Act. See 2016 WL 8232832, at *1; see also

Malden Police Patrolmen’s Ass’n, 92 Mass. App. Ct. at 62-63

 

(remanding for this reason).

In its post-trial brief, the City relies heavily on the
decision of the Massachusetts Appeals Court in Gallagher v.
Cerebral Palsy of Massachusetts, Inc., 92 Mass. App. Ct. 207
(2017). See City’s Post-Trial Br. 16-21. In essence, the City
argues that, by performing private detail work, an individual
Officer was not providing services to the City. Id. at 19.
Rather, the City was merely operating as a kind of
“intermediary” between the Officer and a third-party contractor

who hired that Officer. Id.

The City’s reliance on Gallagher is misplaced. In
Gallagher, a personal care assistant had sued a fiscal
intermediary company, alleging that the company was her employer

and therefore owed her overtime pay under the Wage Act.® See 92

 

8 The plaintiff in Gallagher had also executed documents
stating that the plaintiff's employer was a third-party

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Mass. App. Ct. at 209. Here, there can be no doubt that the
Plaintiffs were employed as police officers by the City. See
City’s Pre-Trial Br. 9 2, at 1; Pls.’ Pre-Trial Br. 971 2, 3, 93,
6. The issue at hand is simply whether the Officers acted in
some other capacity than as police officers when conducting
private detail work.

No directly applicable Massachusetts caselaw exists. The
purpose of Massachusetts General Laws chapter 149, section 148B
appears to be to distinguish “employees” from “independent

contractors.” See Hogan v. InStore Grp., LLC, CIVIL ACTION NO.

 

17-10027-DPW, 2021 WL 91386, at *12 (D. Mass. Jan. 11, 2021)
(Woodlock, J.). Massachusetts caselaw does address, however,
the general nature of the work performed by police officers
during private details.

In Davis v. DelRosso, the Massachusetts Supreme Judicial
Court decided that the question whether police officers on a
paid detail are to be considered independent contractors or
employees of a third-party contractor depends on “the
principal’s ‘right to control’ the policemen’s activities.” 371

Mass. 768, 771 (1977); see also Davis v. Allard, 37 Mass. App.

 

Ct. 508, 513-14 (1994) (holding that racetrack owner did not

“control” police detail hired to oversee traffic during an event

 

consumer. 92 Mass. App. Ct. 209. Several tax documents
contained similar statements. Id.

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because he “did not exercise any oversight of the control of
traffic” and police officers “were under the direction of a
lieutenant or other senior officer”; the officers hired to
perform the private details were “in uniform, carried on traffic
duties as they had learned them in police academy and by daily
experience on the streets”; and “[t]hey could make arrests and
in other ways behaved as they did in the streets”), rev’d on
other grounds Davis v. Westwood Grp., 420 Mass. 739 (1995);
Yates v. City of Salem, 342 Mass. 460, 461-62 (1961) (holding
that a police officer who was paid by a contractor to perform
traffic control on his day off was “performing the work of a
police officer” and “not acting in the capacity of employee of

the contractor”); Kidder v. Whitney, 336 Mass. 307, 308-09

 

(1957) (finding that a police officer paid to direct traffic by
defendant-operators of an open air theater was not defendants’
servant because they did not give the officer “instruction or

directions”); Champa v. Town of Billerica, No. 992861, 2001 WL

 

920000, at *1-4 (Mass. Super. Ct. June 27, 2001) (Volterra, J.)
(holding that a police officer performing private detail work

involving security and supervision at a high school dance event
was not liable for personal injuries sustained by guests, when
he was performing the work “in his patrolman’s uniform,” having
been “paid by the Town . . . with funds supplied by [the third-

party contractor],” in “the same functions .. . as he did at

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any other time when he was working for the . . . Police
Department . . . motivated wholly by his public duty,” and
because the event organizer “exercised no control over the
exercise of [the officer’s] authority”).

Here, Chief Molis testified on day three of the trial that
the broad purpose of detail work is to provide a public service
and public safety. See Bench Trial Tr. Day Three 105-22:24
(Molis’s Testimony). He also stated that Officers wear their
uniforms, including their duty belt, while performing detail
work. See id. 112:3-5. Furthermore, according to Chief Molis,
while performing such work, Officers are bound by the rules and
regulations applicable to police details, the traffic rules, the
code of conduct, and common sense. See id. 111:19-25, 112:12-

21; see also generally Detail Rules and Procedures. Although

 

the initial scope of work for a specific detail assignment is
determined by the person or entity who requested the detail, see
Bench Trial Tr. Day Three 110:16-25, 111:8-18 (Molis’s
Testimony), compensation for detail work is paid out to Officers
by the City’s payroll, as was confirmed by Ranaghan during his
testimony on day two of the trial, see Bench Trial Tr. Day Two
44:1-25 (Ranaghan’s Testimony). Ranaghan also stated that the
City issues annual W-2 forms to Officers which include
information on detail wages earned and list the City as the

employer. Id. According to Sullivan’s testimony, the detail

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clerk organizes various aspects of detail work administration,
including invoicing and check deposits. See Bench Trial Tr. Day
Four 95:7-11, 98:11-25, 99:1-2 (Sullivan’s Testimony). Lastly,
Chief Molis confirmed that private detail work is provided on
the basis of an agreement between the private person or entity
requesting the detail and the City. See id. 12:23-25, 13:1-3
(Molis’s Testimony).

The evidence adduced at trial therefore demonstrates that
Officers continued to act in their capacity as police officers
when conducting detail work, including private detail work. The
evidence also unequivocally shows that the City does not act as
a mere “intermediary” between individual Officers and third-
party contractors with respect to private detail work, but that
the City contracts with third parties directly and pays its
Officers for detail work as part of its regular payroll process.
Accordingly, the Court rules that the Plaintiffs are to be
considered employees under the Wage Act while performing private
detail work.

c. Violation of the Wage Act by not Paying
Wages

In count II of the amended complaint, the Plaintiffs claim
that the City violated Massachusetts General Laws chapter 149,

section 148 by deducting a ten percent administrative fee from

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the Plaintiffs’ wages earned for private detail work. See Am.
Compl. I1 34, 47-48.

The City argues that the Officers were paid either “exactly
what they were owed,” see City’s Post-Trial Br. 14-16, or that
they were “overpaid” on the basis of the purported correct
application of the relevant provisions of the Agreement, id.
8-9.

The City is authorized to collect an administrative fee for
private detail work pursuant to Massachusetts General Laws
chapter 44, section 53C (the “Municipal Finance Law”). Mass.
Gen. Laws ch. 44, § 53C. In relevant part, the statute reads:

A city, town or district may establish a fee not to

exceed ten per cent of the cost of services authorized

under this section, which shall, except in the case of

a city, town, district or the commonwealth, be paid by

the persons requesting such private detail. Any such

fee received shall be credited as general funds of the

city, town or district and shall not be used again
without further appropriation.

The Massachusetts Appeals Court’s decision in Malden Police

Patrolmen’s Association instructs that “where the detail work is

 

performed for third parties, the plain language of G.L.c. 44,
§ 53C, governs with respect to detail pay.” 92 Mass. App. Ct.

at 62.

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i. Massachusetts General Laws Chapter 44,
Section 53C Requires that the Ten
Percent Administrative Fee Be Paid by
the Person Requesting a Private Detail.

Massachusetts General Laws chapter 44, section 53C plainly
states that “a fee not to exceed ten per cent... . shall
be paid by the persons requesting such private detail.” Mass.
Gen. Laws ch. 44, § 53C.

“We ‘must presume that a legislature says in a statute what
it. means and means in a statute what it says there. When the
words of a statute are unambiguous, then, this first canon is
also the last: judicial inquiry is complete.’” United States v.
Lewis, 554 F.3d 208, 214 (1st Cir. 2009) (quoting Connecticut
Nat'l Bank v. Germain, 503 U.S. 249, 253-54 (1992)). “Where its
terms are unambiguous, a statute must be held to mean what it
plainly expresses.” L.W.K. v. E.R.C., 432 Mass. 438, 445-46
(2000).

Here, Massachusetts General Laws chapter 44, section 53C
plainly and unambiguously states that the person requesting a
private detail must? pay the ten percent administrative fee.

The City argues that Massachusetts General Laws chapter 44,

section 53C does not confer a private right of action on the

Plaintiffs. See City’s Post-Trial Br. 23-24. That question is

 

9 The use of the word “shall” in Massachusetts General Laws
chapter 44, section 53C indicates that this is a requirement.

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not at issue here, however, because the Plaintiffs’ claim in
count II of the amended complaint is clearly brought for
violation of the Wage Act. See Am. Compl. (9 34, 47-48.

The Court therefore rules that, in accordance with the
clear and unambiguous wording of Massachusetts General Laws
chapter 44, section 53C, the person requesting a private detail
must pay the ten percent administrative fee.

The City thus violated Massachusetts General Laws chapter
44, section 53C if and to the extent that it deducted a ten
percent administrative fee from Officers’ wages for private
detail work, instead of charging the third party that had

requested the private detail.

ii. Interpretation of Article 23, Section 3
of the Agreement

The City argues that the Plaintiffs were in fact overpaid
when performing detail work, rendering any reduction in pay by
subtracting the ten percent administrative fee immaterial. See
City’s Post-Trial Br. 8-9.

To establish whether the reduction of the Plaintiffs’ wages
was material, it is necessary first to determine what wages the
Plaintiffs were owed. It is therefore imperative to establish
the applicable rate of pay owed to the Officers for detail work
performed, which, in turn, requires a review of Article 23,

section 3 of the Agreement.

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1) The Term “Maximum Patrolman’s Rate
of Pay” in Article 23, Section 3
of the Agreement is Ambiguous.

Article 23, section 3 of the Agreement provides:
The base rate for paid details shall be one and one
half times the maximum patrolman’s rate of pay

including night differential.

Agreement Art. 23, § 3. In essence, Article 23, section 3 is an

equation:
Base rate for paid details = (maximum patrolman’s rate of
pay including night
differential) x (1.5)
See id.

“Collective bargaining agreements are contracts governed by
federal common law. Generally speaking, contract interpretation
is a legal question for the court, unless the contract is
ambiguous, in which case the interpretation may become a fact

question for the jury.” Local 369 Utility Workers v. NSTAR

 

Elec. & Gas Corp., 317 F. Supp. 2d 69, 73 (D. Mass. 2004)

 

(Harrington, J.). “In construing the terms of contracts that
are governed by federal common law, we are guided by ‘common-
sense canons of contract interpretation.’” Smart v. Gillette

Co. Long-Term Disability Plan, 70 F.3d 173, 178 (lst Cir. 1995)

 

(quoting Burnham v. Guardian Life Ins. Co., 873 F.2d 486, 489

 

(lst Cir. 1989)).
The parties agree that Article 23, section 3 is

unambiguous. See City’s Post-Trial Br. 9-12; Pls.’ Post-Trial

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Br. 12-14. They just differ markedly as to what the word
“unambiguous” means. Id.

The parties also differ as to what the expression “maximum
patrolman’s rate of pay” means. The City contends that whatever
“maximum patrolman’s rate of pay” refers to, it cannot include
any salary augments besides “night differential.” See City’s
Post-Trial Br. 9-12. Effectively, this means that, according to
the City, the maximum patrolman’s rate of pay “consists of two
elements: (1) the maximum patrolman’s base pay, and (2) a ‘night
differential’ (also referred to as a ‘shift differential’) wage
augment of 6%.” See Mot. J. Partial Findings 1. The Plaintiffs
contend that the proper calculation of the detail rate under
Article 23, section 3 is not so limited, and that it includes
other salary augments in addition to “night differential.” See
Pls.’ Post-Trial Br. 9-13. The Plaintiffs do not explain,
however, how the wording of the Agreement supports their
position. Id.

“Maximum patrolman’s rate of pay” is not defined in the
Agreement. See generally Agreement. The Agreement identifies
the elements of “Compensation” in Article 30, comprising a “Base
Salary,” Agreement Art. 30, § 1, and additional elements,
applicable under certain circumstances: “Shift Differential,”
id, § 2, “Hazardous Duty,” id. $ 5, and “Longevity and

Education,” id. § 7. Article 30, section 8 (A) makes clear that

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“la]n officer cannot receive both longevity and education pay.”
Id. § 8(a).

The salary augments can be grouped into elements that
attach to an individual Officer’s personal qualifications (such
as “Quinn (25%)” or “POLP Sr. Longevity”; collectively,
“personal salary augments”) and those that confer additional
benefits on the basis of an Officer’s particular working
conditions during the relevant salaried time period (such as
“POLP Hazardous Duty” and “Shift Differential Police”;
collectively, “conditional salary augments”). See generally
Agreement.

The City’s argument that the maximum patrolman’s rate of
pay consists of “(1) the maximum patrolman’s base pay, and (2) a
‘night differential,’” see Mot. J. Partial Findings 1, is not
supported by the terms of the Agreement, see Agreement Art. 23,
§ 3. Article 23, section 3 clearly states that the detail rate
is 1.5 times “the maximum patrolman’s rate of pay including
night differential.” Agreement Art. 23, § 3 (emphasis added).
It does not say the maximum patrolman’s base pay including night
differential. Id. Article 16, section 4 makes clear that the
Agreement does not apply the terms “base pay” and “rate of pay”
synonymously. See id. Art. 16, § 4. There, for the calculation
of overtime, Article 16, section 4 states that “base pay” is an

element included in “rate of pay”:

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The overtime rate of pay shall be 1/40th of the

officer’s weekly pay to include base pay, hazardous

duty pay, night differential, longevity and

educational incentive monies to which the officer is

entitled, multiplied by one and one-half for number of

hours worked.
Id. (emphasis added).

The City’s other argument is also unconvincing. The City
argues that, because overtime calculation under Article 16,
section 4 mentions a plethora of salary augments, whereas
Article 23, section 3 only refers to “night differential,” the
Agreement contemplates that the night differential is the only
salary augment relevant for the detail rate calculation. See
City’s Post-Trial Br. 11. Article 16, section 4 deals with the
calculation of overtime, which is Officer-specific, as evidenced
by the phrase “monies to which the officer is entitled,”
Agreement, see Agreement Art. 16, § 4, whereas the detail rate
calculation is broadly applicable, i.e., it applies uniformly to
any Officer seeking remuneration for detail work, referring to
the somewhat mysterious “maximum patrolman,” see id. Art. 23,

§ 3. It appears sensible in Article 16, section 4, in the
context of overtime calculation, to include a list of any and
all salary augments to which an individual Officer may or may
not be entitled. It is true that, as the City contends, the

phrase “one and one half times the maximum patrolman’s rate of

pay including night differential” appears in other contexts in

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the Agreement. See, e.g., id. Art. 14, § 1. This does nothing,
however, to assist in establishing what is meant by the phrase
“maximum patrolman’s rate of pay” in Article 23, section 3.

“A contract is ambiguous if ‘an agreement’s terms are
inconsistent on their face or where the phraseology can support
reasonable differences of opinion as to the meaning of the words
employed and obligations undertaken.’” NSTAR Elec. & Gas Corp.,

317 F. Supp. 2d at 73 (quoting Lohnes v. Level 3 Comme’ns, Inc.,

 

272 F.3d 49, 53 (1st Cir. 2001)).

As illustrated above, the parties’ views differ as to what
elements the phrase “maximum patrolman’s rate of pay” reasonably
includes. A reading of the entire Agreement does not provide
any reference points as to the phrase’s reasonable meaning in
the context of the case at hand. On this basis, the Court rules
that Article 23, section 3 of the Agreement -- specifically the
phrase “maximum patrolman’s rate of pay” -- is ambiguous.

If an inquiring court concludes that an ambiguity
exists in a contract, the ultimate resolution of it
typically will turn on the parties’ intent. Exploring
the intent of contracting parties often (but not
always) involves marshalling facts extrinsic to the
language of the contract documents. When this need
arises, these facts, together with the reasonable
inferences extractable therefrom, are together
superimposed on the ambiguous words to reveal the
parties’ discerned intent. This construct ordinarily
requires the judge in a non-jury case to resolve
questions of fact rather than questions of law.

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Smart, 70 F.3d at 178 (citing In re Newport Plaza Assocs., 985
F.2d 640, 645 (ist Cir. 1993)).

The Court conducted a bench trial in this matter. On day
three of the trial, the Court heard evidence from two witnesses
-- Ranaghan, the City’s current Controller, and Police Chief
Kevin Molis -- about their understanding of the phrase “maximum
patrolman’s rate of pay” in Article 23, section 3. See
generally Bench Trial Tr. Day Three. Both stated that the
phrase refers to the rate of pay of the patrolman who, in
addition to his “base pay,” had accumulated the maximum amount
of additional benefits during a certain time period, embodied in
salary augments, namely Quinn Bill pay, hazardous duty pay,
longevity pay, and shift differential. Id. 132:17-25, 133-1-4,
134:19-21 (Molis’s Testimony) (listing Quinn Bill pay, hazardous
duty pay, longevity pay, and shift differential among the
“variety of things” that alter Officers’ rates of pay); id.
64:1-25 (Ranaghan’s Testimony) (listing the same). Chief Molis
further explained that this system had been in place since
sometime in the 1980s, and that a new detail rate would be
announced if an Officer received a raise or a promotion. See
id. 129:10-14.

The construction of the phrase “maximum patrolman’s rate of
pay,” as articulated by the witnesses, makes the most sense

because it explains the reference to “maximum patrolman.” It

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also conforms with the use of the terms “rate of pay” and “base
pay,” as applied in the Agreement. See Agreement Art. 16, § 4.
The fact that “night differential” is expressly included in the
formula at Article 23, section 3 does not contradict the
witnesses’ testimony. “Night differential” is a conditional
salary augment, i.e., an enhancement that is tied to a condition
under which specific work is performed, see id. Art. 30, § 2,
whereas Quinn Bill pay and longevity pay are tied to an
Officer’s unique qualities, see id. § 7.10 Because a Patrolman
who would be considered the “maximum patrolman” would not
automatically fulfill the requirements for a “night
differential,” it makes sense to include a reference to “night
differential,” but no other salary augment, in Article 23,
section 3.

Accordingly, the Court rules that the phrase “maximum
patrolman’s rate of pay” in Article 23, section 3 of the
Agreement refers to the rate of pay of the Patrolman who, in
addition to his “base pay,” has accumulated the maximum amount
of additional benefits during a certain time period, embodied in
salary augments, namely Quinn Bill pay, hazardous duty pay,

longevity pay and night differential.

 

10 Hazardous duty pay is a conditional salary augment as
well, but it appears to be distributed indiscriminately on an
annual basis and paid out weekly to every Officer. See
Agreement Art. 30, § 5.

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2) The Term “Base Rate” and the
Multipliers

At trial, the Court heard evidence regarding a second issue
that is related to the interpretation of Article 23, section 3
of the Agreement. According to Chief Molis, under certain
circumstances, Officers performing detail work were paid detail
rates in excess of the detail rate determined by applying the
process described above. See Bench Trial Tr. Day Three 140:13-
15 (Molis’s Testimony); see also Spreadsheet. The situations in
which higher rates would typically be paid include detail work
during strike action, after midnight, detail work by
supervisors, detail work performed on holidays, and detail work
in excess of eight hours. See Bench Trial Tr. Day Three 127-128
(Molis’s Testimony). There are several enhancements to detail
pay according to the Detail Rules and Procedures (collectively,
the “Multipliers”). “The rate of a supervisor’s pay is 1 *% (one
and one half) times the patrolman’s rate for the detail.”
Detail Rules 9 I.17. Detail work on certain national holidays
warrants payment of “1 % (one and one half) times the detail
rate.” Id. @ 1.21. Finally, the “(s]trike rate is 2 times the
prevailing detail rate.” Id. 7 IV.3. There is no direct
reference to these Multipliers in the Agreement. See generally
Agreement. But see Memorandum @ 5 (stipulating, under the

heading “Details and Poll Duty,” a monetary “detail rate” and

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multiplier values for Superior Officers’ detail pay under
certain circumstances). The Agreement does, however state the

following:

No new categories for which now pay in excess of 1.5
times the maximum patrolmen’s rate of pay will be
approved or voted by members of this unit without
approval of the Mayor.

Agreement Art. 23, § 12.

The Agreement also references the Detail Rules and
Procedures, stating that “(t]he detail board shall establish
rules and procedures pertaining to details.” Id. Art. 23, § 5.

The Agreement further includes a provision which reads:

No amendment, alteration or variation of the terms or

provisions of this Agreement shall bind the parties

hereto unless made and executed in writing by said
parties. There shall be no alterations, deviations,
amendments or abridgements of this Agreement unless
mutually agreed upon by the parties and set down in
writing and signed by the authorized representatives of
both the Association and the City.

Id. Art. 4, § 2.

Lastly, the Agreement provides that “[t]he provisions of
this Agreement supersede any conflicting or inconsistent rule,
regulation or order as promulgated by the Police Commissioner
o[r] Chief of Police.” Id. Art. 31, § 5.

The City argues broadly that excess detail rates resulted

in overpayments for detail work, which in turn invalidates the

Plaintiffs’ Wage Act claim. See City’s Post-Trial Br. 14-16.

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This would be an apposite argument if the Multipliers were
not contemplated by the Agreement.
“A fully integrated agreement is a statement which the
parties have adopted as a complete and exclusive
expression of their agreement.” Such an agreement
will typically contain an “integration clause” stating
that it constitutes the parties’ sole agreement and
that there are no oral or written representations
outside of the agreement.
Cabot v. Cabot, 55 Mass. App. Ct. 756, 763 (2002) (citations
omitted). “[E]ven apparently straightforward contractual
language asserting integration will not always compel a

conclusion that a writing reflects a complete and integrated

agreement,” however. Chambers v. Gold Medal Bakery, Inc., 83

 

Mass. App. Ct. 234, 242-43 (2013) (quoting Green v. Harvard

Vanguard Med. Assocs., Inc., 79 Mass. App. Ct. 1, 9 (2011)).

 

Here, Article 4, section 2 of the Agreement merely states
that “no alterations, deviations, amendments or abridgements”
are to be made to the Agreement, “unless mutually agreed
upon . . . and set down in writing... .” Agreement Art. 4,

§ 2. Article 31, section 5, states that the Agreement only
“supersede[s] any conflicting or inconsistent rule, regulation
or order.” Id. Art. 31, § 5. Moreover, Article 23, section 12
clearly references the existence of “categories for which now
pay in excess of 1.5 times the maximum patrolmen’s rate of pay,”
but which are not otherwise explained in the Agreement, as well

as the requirement in Article 23, section 5 that “[t]he detail

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board shall establish rules and procedures pertaining to
details.” Id. Art. 23, §§ 5, 12.

On this basis, the Court rules that the Agreement is a
partially integrated document.

“Evidence of a consistent additional term is admissible to
supplement an integrated agreement unless the court finds that
the agreement was completely integrated.” Aretakis v. Gen.
Signal, Inc., Civil Action No. 05-10257-DPW, 2006 WL 1581781, at
*5 (D. Mass. June 7, 2006) (Woodlock, J.) (quoting Restatement

(Second) of Contracts § 216(1)); In re Inofin Inc., 512 B.R. 19,

 

74 (Bankr. D. Mass. 2014) (“[A] partially integrated document
can be supplemented with evidence of consistent additional
terms.”).

Here, the witness testimony of Chief Molis and the Detail
Rules and Procedures reference Multipliers for detail work
performed under certain conditions. See Bench Trial Tr. Day
Three 127-128 (Molis’s Testimony); Detail Rules and Procedures
(1 I.17, 1.21, IV.3. The existence of Multipliers also does not
contradict the wording of Article 23, section 3, which expressly
refers to “[t]he base rate for paid details,” indicating that
the “base rate” may be subject to further enhancement. See

Agreement Art. 23, § 3 (emphasis added).

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The Court therefore rules that the existence of Multipliers
is contemplated in the Agreement and that Multipliers must be
taken into account when calculating an applicable detail rate.

Lastly, the City argues that, even if the detail rate
included all salary augments and further enhancements, the
Plaintiffs received exactly they bargained for and therefore
cannot request more from the City. See City’s Post-Trial Br.
14-16.

This argument is unavailing. Irrespective of how high a
detail rate may have been under individual circumstances, the
City violated Massachusetts General Laws chapter 44, section 53C
when it deducted a ten percent administrative fee from the
Officers’ wages for private detail work, instead of charging the
third party that had requested the private detail. Under these
circumstances, the Officers might have been paid a high detail
rate in some situations, but they still were not paid what they
were owed in accordance with Massachusetts General Laws chapter
149, section 148.

B. Violation of the FLSA for City Detail Work

The Plaintiffs’ FLSA claim is expressly limited to “all
paid detail work performed for or on behalf of the City of
Malden as the employer.” See Am. Compl. G7 45-46 (count IT).
The Plaintiffs claim that the City violated the FLSA, reducing

Officers’ FLSA overtime payments for detail work, by subtracting

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the ten percent administrative fee from their compensation. Id.
GY 46; Pls.’ Post-Trial Br. 2-4.
1. The Cause of Action: 29 U.S.C. § 07(a) (1)

As a threshold issue, the Plaintiffs must prove that they
are entitled to overtime pay. See McGrath v. City of
Somerville, 419 F. Supp. 3d 233, 246 (D. Mass. 2019) (Saylor,
J.) (citing Manning v. Bos. Med. Ctr. Corp., 725 F.3d 34, 43-44
(lst Cir. 2013)). The statutory guarantee provides:

Except as otherwise provided in this section, no

employer shall employ any of his employees who in any

workweek is engaged in commerce or in the production

of goods for commerce, or is employed in an enterprise

engaged in commerce or in the production of goods for

commerce, for a workweek longer than forty hours

unless such employee receives compensation for his

employment in excess of the hours above specified at a

rate not less than one and one-half times the regular

rate at which he is employed.
29 U.S.C. § 207 (a) (1).

“A claim for unpaid overtime wages must demonstrate that
the plaintiffs were employed ‘for a workweek longer than forty
hours’ and that any hours worked in excess of forty per week
were compensated ‘at a rate . . . less than one and one-half
times the regular rate.’” Manning, 725 F.3d at 43 (quoting 29
U.S.C. § 207(a) (1)).

“(A]s a threshold matter, to recover FLSA overtime wages,

each opt-in plaintiff must be able to prove that he or she

worked more than 40 hours in one or more workweeks.” Banks v.

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Birmingham Bd. of Educ., Case No.: 12-cv-01682-MHH, 2017 WL
3218046, at *1 (N.D. Ala. July 28, 2017).

Detail work can be taken into account when determining
whether a plaintiff in an FLSA action worked for more than forty
hours. See O’Brien v. Town of Agawam, 350 F.3d 279, 289 (lst
Cir. 2003) (“For purposes of the FLSA, all hours worked under
the statutory maximum are non-overtime labor.”).

On day four of the trial, the Court ruled that, for the
purposes of the present action, a “workweek” as referred to in
29 U.S.C. § 207(a) (1) runs from Saturday of one week until
Saturday of the following week. See Bench Trial Tr. Day Four
76:15-24.

2. The “Regular Rate”: 29 U.S.C. § 207(e)

As used in this section the “regular rate” at which an
employee is employed shall be deemed to include all
remuneration for employment paid to, or on behalf of,
the employee

29 U.S.C. § 207 (e).

Calculation of the correct “regular rate” is the
linchpin of the FLSA overtime requirement. The term
is significant because under 29 U.S.C. § 207 (a) (1), an
employee who works overtime is entitled to be paid “at
a rate not less than one and one-half times the
regular rate at which he is employed.” The statute
defines the term “regular rate” in § 207(e). Under
that provision and the relevant case law and
interpretative regulations, the regular rate cannot be
stipulated by the parties; instead, the rate must be
discerned from what actually happens under the
governing employment contract.

O’Brien, 350 F.3d at 294 (citing 29 C.F.R. § 778.108).

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a. General Rules

“(T]he regular rate refers to the hourly rate actually paid
the employee for the normal, non-overtime workweek for which he
is employed.” Walling v. Youngerman-Reynolds Hardwood Co., 325
U.S. 419, 424 (1945) (citing Walling v. Helmerich & Payne, 323
U.S. 40 (1944)).

The regular rate by its very nature must reflect all

payments which the parties have agreed shall be

received regularly during the workweek, exclusive of

overtime payments. It is not an arbitrary label

chosen by the parties; it is an actual fact. Once the

parties have decided upon the amount of wages and the

mode of payment the determination of the regular rate

becomes a matter of mathematical computation, the

result of which is unaffected by any designation of a

contrary ‘regular rate’ in the wage contracts.

Id. at 424-25.

b. The “Regular Rate” Includes Individual
Salary Augments.

The “regular rate” includes individual salary augments,
such as shift-differential pay, longevity pay, and career-
incentive (“Quinn Bill”) pay. See O’Brien, 350 F.3d at 294-95;
see also 29 C.F.R. § 778.200(c) (“[A]11l remuneration for
employment paid to employees which does not fall within one of
these seven exclusionary clauses [in 29 U.S.C. § 207 (e))] must be
added into the total compensation received by the employee

before his regular hourly rate of pay is determined.”).

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c. Calculation Involving Fixed Salaries
If an employee receives a fixed salary, instead of being
compensated on an hourly basis, additional considerations apply
for the calculation of the employee’s “regular rate” of pay
under 29 U.S.C. § O7(e).

The Act does not require employers to compensate
employees on an hourly rate basis; their earnings may
be determined ona... salary .. . basis, but in
such case the overtime compensation due to employees
must be computed on the basis of the hourly rate
derived therefrom and, therefore, it is necessary to
compute the regular hourly rate of such employees
during each workweek.

29 C.F.R. § 778.109.

A “‘fixed weekly salary’ method” of calculation “governs
employees who receive a fixed salary that is intended to
compensate a specific number of hours of labor (e.g., $400 for
40 hours).” O’Brien, 350 F.3d at 287.

For employees who are paid on a weekly salary basis,
the regular rate is “computed by dividing the salary
by the number of hours which the salary is intended to
compensate.” 29 C.F.R. § 778.113(a). “Where a salary
covers a period longer than a workweek, such as a
month, it must be reduced to its workweek equivalent.”
29 C.F.R. § 778.114(b). Thus, for example, a “monthly
salary is subject to translation to its equivalent
weekly wage by multiplying by 12 (the number of
months) and dividing by 52 (the number of weeks).

O’Brien v. Town of Agawam, 440 F. Supp. 2d 3, 10 (D. Mass.

 

2006) (Ponsor, J.).
In the case at hand, the Plaintiffs were mostly paid on a

weekly basis to cover a time period of forty hours. See

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generally Paystubs. The regular hourly rate to be calculated
for each individual Plaintiff is therefore the sum of the
“Current Amt” listed as “Regular” and the value of any
individually applicable augments, as listed on individual
Paystubs, divided by 40. The same calculation applies for
payments made to individual Plaintiffs on a bi-weekly basis,
applying a divisor of 80.

3. Exclusions: 29 U.S.C. § 207(p) (1)

The FLSA contains express exclusions of hours worked for
specific purposes from the calculation of overtime, most notably
in the context of the present action, 29 U.S.C. § 207(p) (1),
which:

makes special provision for fire protection and law
enforcement employees of public agencies who, at their
own option, perform special duty work in fire
protection, law enforcement or related activities for
a separate and independent employer (public or
private) during their off-duty hours. The hours of
work for the separate and independent employer are not
combined with the hours worked for the primary public
agency employer for purposes of overtime compensation.

29 C.F.R. § 553.227(b) (emphasis added).
Section § 207(p) (1) provides:

If an individual who is employed by a State, political
subdivision of a State, or an interstate governmental
agency in fire protection or law enforcement
activities (including activities of security personnel
in correctional institutions) and who, solely at such
individual’s option, agrees to be employed on a
special detail by a separate or independent employer
in fire protection, law enforcement, or related
activities, the hours such individual was employed by

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such separate and independent employer shall be
excluded by the public agency employing such
individual in the calculation of the hours for which
the employee is entitled to overtime compensation
under this section if the public agency—

(A) requires that its employees engaged in fire
protection, law enforcement, or security
activities be hired by a separate and independent
employer to perform the special detail,

(B) facilitates the employment of such employees by a
separate and independent employer, or

(C) otherwise affects the condition of employment of
such employees by a separate and independent
employer.

29 U.S.C. § 207(p) (1).

Count I of the amended complaint is limited to city
detail work. See Am. Compl. @71 45-46. At trial, the City
provided a list of departments for the City of Malden. See
Trial Ex. 45, City Malden Departments. According to
Ranaghan’s testimony, the list purported to show the City
Departments that would be capable of making a request for a
city detail. See Bench Trial Tr. Day Four 81:9-17. The
list therefore represents the City Departments for which,
in principle, individual Plaintiffs could have performed
city detail work. Id.

“Section 7(p)(1) applies to such outside employment

provided (1) The special detail work is performed solely at

 

11 The Plaintiffs did not dispute or rebut the evidence in
trial exhibit 45.

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the employee’s option, and (2) the two employers are in fact
separate and independent.” 29 C.F.R. § 553.227(b); see also
McGrath, 419 F. Supp. 3d at 247 (quoting 29 C.F.R. § 553.227 in
determining when 29 U.S.C. § 207(p) (1) applies to outside
employment). Chief Molis testified that any detail work by
Officers -- whether private detail work or city detail work --
was performed on a voluntary basis and during off-duty hours.
See Bench Trial Tr. Day Three 109:3-9 (Molis’s Testimony).
“Neither the statute nor the regulation explicitly defines
‘separate and independent.’” McGrath, 419 F. Supp. 3d at 247

(quoting Clark v. City of Fort Worth, 800 F. Supp. 2d 781, 787

 

 

(N.D. Tex. 2011), aff'd sub nom. Clark v. City of Fort Worth,

 

464 F. App’x 325 (5th Cir. 2012)).

However, courts addressing the issue have considered
the following factors: “(1) whether the agencies
maintained separate payrolls; (2) whether the entities
had arms-length dealings regarding employment; (3)
whether the agencies had separate budgets; (4) whether
the employees of the entities participate in separate
retirement programs; (5) whether they are independent
entities under state statute; and (6) whether they can
both sue and be sued.”

Murphy v. Town of Natick, 516 F. Supp. 2d 153, 157-58 (D. Mass.
2007) (Stearns, J.) (quoting Barajas v. Unified Gov’t of

Wyandotte Cnty./Kansas City, 87 F. Supp. 2d 1201, 1207 (D. Kan.

 

2000)). “The degree to which one employer exerts budgetary
control over another is typically given special weight.”

McGrath, 419 F. Supp. 3d at 248 (quotations omitted) (quoting

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Nolan v. City of Chi., 125 F. Supp. 2d 324, 337 (N.D. Ill.
2000)).

The fact that the departments that are listed in trial
exhibit 45 are “City of Malden Departments” is not dispositive
as to whether or not they are “separate and independent” from
the City for the purposes of 29 U.S.C. § 207(p) (1), however.
For instance, the special detail exception would apply to “the
police officer who accepts extra employment from a school board

to direct traffic at a football game.” Baltimore Cty. FOP Lodge

 

4 v. Baltimore Cty., 565 F. Supp. 2d 672, 678 (D. Md. 2008)
(quotations omitted)). A municipal board was described as a
“separate and independent” public agency from a city by the Wage
and Hour Division of the United States Department of Labor in an
opinion letter dated October 5, 2006. See U.S. Dep’t Labor,
Wage & Hour Division, Opinion Letter Fair Labor Standards Act
(FLSA) (Oct. 5, 2006), 2006 WL 4512963. It has also been held

that 29 U.S.C. § 207(p) (1) applied to city police officers who

provided detail work for a city’s transit and housing
authorities. See Nolan, 125 F. Supp. 2d at 337. Cf. Cox v.

Town of Poughkeepsie, 209 F. Supp. 2d 319, 326 (S.D.N.Y. 2002)

 

(holding that police officers’ time worked off-duty as town
court security details was not excluded under 29 U.S.C.

§ 207(p) (1) because police officers were paid for detail work

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and their regular police work on the same paycheck by the Town,
rather than by separate subdivisions).

Because 29 U.S.C. § 207(p) (1) is an exclusionary provision,
the City bears the burden of showing that it applies in the case
at hand. See Specht v. City of Sioux Falls, 639 F.3d 814, 819-

20 (8th Cir. 2011) (citing Benshoff v. City of Va. Beach, 180

 

F.3d 136, 140 (4th Cir. 1999))) (“[T]he employer bears the
burden of proving entitlement to any exemptions or exceptions to
the Act’s compensation requirements.”). The City did not
attempt to make any such showing at trial. It was established
at trial through Ranaghan’s and Sullivan’s testimonies, however,
that city detail work was compensated by internal money transfer
rather than by means of a check or other external payment
method. See Bench Trial Tr. Day Four 102:14-18.

Consequently, the Court ruled at the June 2, 2021 hearing
that, in the event and to the extent that the Plaintiffs are
able to make the required showing under 29 U.S.C. § 207 (a) (1)
for any individual Plaintiff in this case, the City may
demonstrate that individual City Departments are to be
considered “separate and independent employer[s]” under 29
U.S.C. § 207(p) (1) on the basis of evidence proffered at trial
and facts of which the Court can take judicial notice. See fr.
Rulings 11:19-12:10, Timing Order 7 II.E. Any hours of city

detail work performed by an individual Plaintiff for which the

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City is able to make such a showing are then to be disregarded
for the purpose of calculating overtime in accordance with 29
U.S.C. § 207(a) (1) for that particular plaintiff. Id.
4. Statute of Limitations: 29 U.S.C. § 255(a)
The FLSA provides for a time-limit within which
actions can be brought:

Any action commenced on or after May 14, 1947, to
enforce any cause of action for unpaid minimum wages,
unpaid overtime compensation, or liquidated damages,
under the Fair Labor Standards Act of 1938, as amended
[29 U.S.C. 201 et seq.], the Walsh-Healey Act, or the

Bacon-Davis Act --

(a) if the cause of action accrues on or after May 14,
1947 -- may be commenced within two years after the
cause of action accrued, and every such action shall
be forever barred unless commenced within two years
after the cause of action accrued, except that a cause
of action arising out of a willful violation may be
commenced within three years after the cause of action
accrued

29 U.S.C. § 255(a). Accordingly, “[u]Jnder the Fair Labor Act,
an action for unpaid compensation must commence within two years
after a cause of action accrues and three years if the cause of
action arises out of a willful violation.” Trezvant v. Fid.

Emp. Servs. Corp., 434 F. Supp. 2d 40, 51 (D. Mass. 2006).

 

a. Applicable Time Period: Willfulness
The Plaintiffs argue that the City acted willfully in
failing to administer the ten percent administrative fee because
the City “intentionally ignore[d] police detail payroll.” See

Pls.’ Post-Trial Br. 6. The City argues that any failure to

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investigate the detail rate administration and payment to
Officers for compliance with the FLSA was not willful, but
rather negligent. See City’s Post-Trial Br. 31-33.
i. The Legal Standard
An employer’s behavior is willful under the FLSA if “the
employer either knew or showed reckless disregard for the matter
of whether its conduct was prohibited by the statute.”

McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988); see

 

also Trans World Airlines, Inc. v. Thurston, 469 U.S. 111, 128

 

(1985) (applying the standard later adopted in McLaughlin). The
Plaintiffs bear the burden of proof that the City’s conduct was
willful. See McLaughlin, 486 U.S. at 135.

“[T]he First Circuit has rejected the notion that a failure
to investigate compliance with the FLSA can, without more,
constitute willfulness.” McGrath, 419 F. Supp. 3d at 259

(citing Baystate Alt. Staffing, Inc. v. Herman, 163 F.3d 668,

 

681 (lst Cir. 1998)).

Recklessness involves more than mere awareness of the
existence of a governing federal law, or negligence in
complying with it, yet less than “voluntary,”
“deliberate,” or “intentional” conduct. “Deliberate
indifference” to the requirements of the law,
requirements that the employer “should have known”
about, may be willful, while “good faith but incorrect
conduct” is not.

LeGoff v. Trs. of Bos. Univ., 23 F. Supp. 2d 120, 125 (D. Mass.

 

1998) (Gertner, J.) (citations omitted).

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There is no binding or persuasive caselaw that requires
that an employer’s willful conduct must occur during the third
year prior to commencement of any action by Plaintiffs, as the
City asserts. See City’s Post-Trial Br. 31-32.

ii. Application to the Facts

The Plaintiffs argue that the City had been aware of its

violation of the FLSA since the Massachusetts Appeals Court

rendered its decision in Malden Police Patrolman’s Association

 

on August 11, 2017. See Pls.’ Trial Br. (7 212-213. That
decision, however, does not refer to a violation of the FLSA.

See Malden Police Patrolman’s Ass’n, 92 Mass. App. Ct. at 62

 

n.11 (deeming any possible FLSA issue waived). On this basis,
the City cannot have been deliberately indifferent to the
requirements of the FLSA. See LeGoff, 23 F. Supp. 2d at 125.
The City’s Controller, Charles Ranaghan, testified on day
two of the trial that he conducted an audit of payments made to
Officers for detail work as to whether those payments
corresponded with the provisions of the Agreement following a
meeting with the Plaintiffs’ counsel and certain individual
Plaintiffs in relation to the present lawsuit. See Bench Trial
Tr. Day Two 37:21-25, 38:1-6 (Ranaghan’s Testimony). Ranaghan
further testified at trial that he had never checked the
accuracy of any detail rate paid out to Officers prior to the

audit. Id. He further testified that he was provided with

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copies of the detail rate Spreadsheet only since August 2020 and
that he had not seen the Spreadsheet for prior years. Id. 45:6-
9.

The conduct described in Ranaghan’s testimony was not a
“voluntary,” “deliberate,” or “intentional” violation of the
FLSA, and it does not it demonstrate “[dJeliberate indifference”
to the requirements of the law. See LeGoff, 23 F. Supp. 2d at

125 (quotations omitted) (quoting Andover Newton Theological

 

School, Inc. v. Cont’l Cas. Co., 930 F.2d 89, 91 (1st Cir.
1991)). It is therefore not willful as required under 29 U.S.C.
§ 255(a). At most, any failure to investigate discrepancies
between detail pay and the provisions of the Agreement absent
awareness of any potential wrongdoing under the FLSA constitutes
negligence, which is not a sufficient basis for willfulness
under 29 U.S.C. § 255(a). See McGrath, 419 F. Supp. 3d at 259;
Herman, 163 F.3d at 681.
iii. Conclusion

The Plaintiffs failed to demonstrate that the City
willfully violated the FLSA. Accordingly, the limitation period
applicable in this case is two years, calculated “backward” from
August 28, 2019, the date on which the present lawsuit was
initiated by the Named Plaintiffs, see generally Compl., August
21, 2020, the date on which the majority of the Opt-In

Plaintiffs filed their opt-in Notices in the current action, see

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generally Notices, ECF Nos. 34-142, and April 15, 2021 (when the
Opt-In Plaintiffs Kenneth Watkins, Amanda Yanovitch, and
Lieutenant Richard Correale filed their Notices), see Notice
Filing Consent Sue Kenneth Watkins, ECF No. 187; Notice Filing
Consent to Sue Amanda Yanovitch, ECF No. 188; Notice Filing

Consent to Sue Richard Correale, ECF No. 189.
b. Statute of Limitations Application

i. Accrual of the Cause of Action
With respect to 29 U.S.C. § 255, a cause of action
“accrues when the allegedly illegal employment practice occurs,
and no later than the termination of such practice or the

termination of the plaintiff’s employment.” Pineda v. Skinner

 

Servs., Inc., Civil Action No. 16-12217-FDS, 2020 WL 5775160, at
*7 (D. Mass. Sept. 28, 2020) (Saylor, C.J.); see also Hughes v.
Region VII Area Agency on Aging, 542 F.3d 169, 187 (6th Cir.
2008) (“Under the FLSA... . ‘[a] cause of action is deemed to
accrue .. . at each regular payday immediately following the
work period during which the services were rendered for which
the wage or overtime compensation is claimed.’”).
Here, accrual of a cause of action for the purposes of 29
U.S.C. § 255 occurred at different points in time for each
Plaintiff in this matter, depending on whether and when each

Plaintiff can demonstrate an FLSA violation within the

limitations period. The alleged violations are described as

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being of a continuous nature. See Pls.’ Pre-Trial Br. @{ 110,

115 n.3, 129; Pls.’ Post-Trial Br. 8.

ii. Commencement of the Action
With respect to the question as to when an action
commences, 29 U.S.C. § 256 distinguishes between named
plaintiffs and opt-in plaintiffs in class action lawsuits:

In determining when an action is commenced for the
purposes of section 255 of this title, an action
commenced on or after May 14, 1947 under the Fair
Labor Standards Act of 1938, as amended, the Walsh-
Healey Act, or the Bacon-Davis Act, shall be
considered to be commenced on the date when the
complaint is filed; except that in the case of a
collective or class action instituted under the Fair
Labor Standards Act of 1938, as amended, or the Bacon-
Davis Act, it shall be considered to be commenced in
the case of any individual claimant --

(a) on the date when the complaint is filed, if he is
specifically named as a party plaintiff in the
complaint and his written consent to become a
party plaintiff is filed on such date in the
court in which the action is brought; or
(bo) if such written consent was not so filed or if
his name did not so appear -- on the subsequent
date on which such written consent is filed in
the court in which the action was commenced.
29 U.S.C. § 256. In accordance with 29 U.S.C. § 256, therefore,
the present action has “commenced” at different times for each
individual Plaintiff, depending on which group of Plaintiffs

that individual Plaintiff belongs: on August 28, 2019 for the

Named Plaintiffs, see 29 U.S.C. § 256(a), and on August 21, 2020

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or April 15, 2021 for the Opt-In Plaintiffs, see 29 U.S.C.
§ 256(b).
c. Conclusion

The point of time at which a cause of action under the FLSA
accrues for the purposes of the application of 29 U.S.C.
§ 255(a) is different for each individual Plaintiff.

Accordingly, a two-year limitation period applies, ending
on August 28, 2019 (for the Named Plaintiffs), the opt-in date
of August 21, 2020 (for the majority of the Opt-In Plaintiffs)
and April 15, 2021 (for the Opt-In Plaintiffs Kenneth Watkins,
Amanda Yanovitch, and Lieutenant Richard Correale), with respect
to individual Plaintiffs’ FLSA claims if and to the extent that
the requirements of 29 U.S.C. § 207(a) (1) can be shown to have
been met.

5. Summary of Rulings of Law: The FLSA Claim

At the June 2, 2021 hearing, the Court made the following
rulings relating to the calculation of individual Plaintiffs’
FLSA claims:}

Each individual Plaintiff in this matter is required to
demonstrate the following to satisfy the requirements of 29

U.S.C. § 207(a) (1) in the present action --

 

12 See Tr. Rulings 8:16-10:15, 11:19-12:10.

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Within a time period of two years between August 28, 2017
and August 28, 2019 (for the Named Plaintiffs), August 21, 2018
and August 21, 2020 (for the Opt-In Plaintiffs) and April 15,
2019 and April 15, 2021 (for the Opt-In Plaintiffs Kenneth

Watkins, Amanda Yanovitch, and Lieutenant Richard Correale):

An individual Plaintiff worked more than forty hours in one

or more workweeks;

- A workweek runs from Saturday of one calendar week until
Saturday of the following calendar week;

- An individual Plaintiff performed city detail work during
any such workweek;

- The hourly detail rate for city detail paid to an
individual Plaintiff was less than one and one half times
an individual Plaintiff’s regular rate of pay;

- An individual Plaintiff’s regular rate of pay is a
workweekly rate that includes individually applicable
augments, such as, but not limited to, shift-differential
pay, longevity pay, and career-incentive (“Quinn Bill”)
pay;

- The regular hourly rate to be calculated for each

individual Plaintiff per workweek is the sum of the

“Current Amt” listed as “Regular” on an individual

Plaintiff’s Paystub and the value of any salary augment (s)

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relevant during that workweek applicable to an individual
Plaintiff, divided by forty;

- For payments made to individual Plaintiffs on a bi-weekly
basis, the same calculation applies, using a divisor of
eighty;

- The City may demonstrate that individual City Departments
are to be considered “separate and independent employer[s]”
under 29 U.S.C. § 207(p) (1) on the basis of evidence
proffered at trial and facts of which the Court can take
judicial notice;

- Any hours of city detail work performed by an individual
Plaintiff for which the City is able to make such showing
are to be disregarded for the purpose of calculating
overtime in accordance with 29 U.S.C. § 07(a) (1) for that
particular Plaintiff.

Cc. Decertification
The City has moved the Court to decertify the Plaintiffs’
FLSA claim. See generally Mot. Decertify; see also City’s Post-
Trial Br. 24-31.
1. Legal Standard

The docket in this case contains 113 Notices filed on
behalf of the Opt-In Plaintiffs. See generally Notices. The
Notices reference the Plaintiff's Wage Act and FSLA claims. Id.

The Court certified a class for the Plaintiffs’ Wage Act and

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FLSA claims during the hearing on February 22, 2021 on the
parties’ cross-motions for summary judgment. See Tr. Summ. J at

6:17.

At the close of discovery and following the arrival of
opt-in plaintiffs, the defendant employer may initiate
the second stage by moving to “decertify” the
collective action. With the benefit of more
substantial evidence, the court makes a comparatively
searching “factual determination as to whether there
are similarly-situated employees who have opted in.”

Rossello v. Avon Prod., Inc., Civil No. 14-1815 (JAG/BJM), 2015
WL 3890403, at *3 (D.P.R. June 24, 2015) (citations omitted)
(quoting Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 916 n.2
(Sth Cir. 2008), R&R adopted, (D.P.R. Sept. 28, 2015).

The Court is therefore tasked with determining whether the
Named Plaintiffs and the Opt-In Plaintiffs are “similarly
situated” under 29 U.S.C. § 216(b). See O'Donnell v. Robert
Half Int'l, Inc., 429 F. Supp. 2d 246, 248-49 (D. Mass. 2006)
(Gorton, J.). At the decertification stage,

courts consider factors such as: 1) the disparate

factual and employment settings -- e.g. whether

plaintiffs were employed in the same corporate

department, division, and location; 2) the various

defenses available to defendant which appear to be

individual to each plaintiff; and 3) fairness and

procedural considerations.

Trezvant, 434 F. Supp. 2d at 45 (quoting Reeves v. Alliant

 

Techsystems, Inc., 77 F. Supp. 2d 242, 247 (D.R.1I. 1999)).

 

The issue to be decided here is whether the Plaintiffs are

challenging a “single policy” imposed on them by the City, which

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would involve an “inquiry that ‘does .. . generate common
answers and [can] be answered ‘yes’ or ‘no’ on a classwide
basis,’” or bringing forward an “inquiry that [goes] beyond the
mere existence of a single policy and need[s] to be analyzed on
a case-by-case basis.” See Botero v. Commonwealth Limousine
Serv. Inc., Civil Action No. 12-10428-NMG, 2014 WL 1248158, at
*6 (D. Mass. Mar. 25, 2014) (Gorton, J.) (citing Raposo v.
Garelick Farms, LLC, 293 F.R.D. 52, 57 (D. Mass. 2013) (Gorton,
J.)).
2. Application

The Court applies the factors listed in Trezvant, 434 F.

Supp. 2d at 45, to the facts of the present action below.
a. Disparate Factual and Employment Settings

In the case at hand, the likelihood of success for an
individual Plaintiff’s FLSA claim depends on the consideration
of highly disparate factual circumstances. To determine whether
a City policy illegally deprived an individual Plaintiff of ten
percent of his or her compensation for city detail work, the
Court is required first to determine whether each such plaintiff
has an overtime claim under the FLSA. As discussed above, a
detailed and highly complex plaintiff-specific analysis is
necessary to determine, on a workweekly basis, whether each

plaintiff was eligible for overtime pay under the FLSA for city

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detail work within the individually applicable two-year statute
of limitations time period.}5

While it may be “plausible that each would-be class member,
were he or she to file a separate complaint, could provide
sufficient proof to survive summary judgment .. . that fact
alone would not be sufficient to render such class members
‘similarly situated’ so as to warrant conditional class
certification here.” Botero, 2014 WL 1248158, at *6.

The facts of the matter at hand call for a case-by-case
analysis, and do not point to a common answer that applies on a
class-wide basis.

b. Defenses Individual to Each Plaintiff

Here, the limitation period operates as an individualized
defense. The limitation period attaches at different points in
time for each plaintiff (depending on when the cause of action
under the FLSA accrued) and ends depending on whether each
plaintiff is a Named Plaintiff (at the time the action was
commenced on August 28, 2019, see Compl.) or an Opt-In Plaintiff
(when an individual Notice was filed on August 21, 2020 or April

15, 2021, see Notices). Only once this has been established can

 

13 But see Scovil v. FedEx Ground Package Sys., Inc., 886 F.
Supp. 2d 45, 58 (D. Me. 2012) (denying an “individualized
statute of limitations defense” in response to a motion to
decertify an FLSA collective action, stating that “the statute
of limitations does not make a collective action
inappropriate”).

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the Court consider whether any deduction of a ten percent
administrative fee has deprived individual Plaintiffs of
overtime compensation to which they were legally entitled under
the FLSA.
ec. Fairness and Procedural Considerations

The City’s motion to decertify was filed during the ongoing
trial in the present matter. See generally Mot. Decertify.

The main reason for certifying a class in an FLSA action is

to promote judicial economy. See Cunha v. Avis Budget Car

 

Rental, LLC, 221 F. Supp. 3d 178 (D. Mass. 2016) (Saylor, J.)

(citing Iriarte v. Café 71, Inc., No. 15 Civ. 3217 (CM), 2015 WL

 

8900875, at *2 (S.D.N.Y. Dec. 11, 2015) (“FLSA ‘[c]ollective
actions were created to promote the efficient adjudication of
similar claims, so similarly situated employees, whose claims
are often small and not likely to be brought on an individual
basis, may join together and pool their resources to prosecute
claims.’”)). In the case at hand, it is not at all certain,
even after completion of the trial, whether any individual
Plaintiffs -- Named or not -- have a viable claim under the
applicable provisions of the FLSA. The trial has demonstrated
what extraordinary effort is required to make such a showing,
considering how much time was spent by the Plaintiffs’ attorney
to attempt to do so at trial for only a small number of

(strategically) selected Plaintiffs. No judgment rendered on

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the Plaintiffs’ FLSA claim with respect to the Named Plaintiffs
in this case will be applicable to the Opt-In Plaintiffs if it
has not first been established whether an individual Opt-In
Plaintiff has a viable FLSA claim. Here, no such comprehensive
showing has yet been made.

Moreover, the viability of an individual Plaintiff's FLSA
claim turns on the determination of a “regular rate” under 29
U.S.C. § 207(a) (1). See O’Brien, 350 F.3d at 294. Because the
“regular rate” includes salary augments that are individual to
each Plaintiff, “regular rate[s]” naturally differ between
individual Plaintiffs. Moreover, “the actual denominator [for
the calculation of an officer’s ‘regular rate’ under 29 U.S.C.
§ 207(a){1)] will depend on the actual overtime and detail hours
worked by each officer. That number is necessarily an
individualized calculation, not a fixed number applicable to all
officers.” McGrath, 419 F. Supp. 3d at 252.

Individual considerations overwhelmingly dominate any
common questions of fact and law in this case. The Court
therefore rules that the Plaintiffs in this action are not
“similarly situated” with respect to their FLSA claim.

3. Legal Effect of Decertification

The City argues that the Court ought dismiss without

prejudice the Opt-In Plaintiffs’ FLSA claims. See City’s Post-

Trial Br. 30-31.

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The legal effect of the decertification of a class of
plaintiffs in an FLSA collective action has not yet been
addressed by the First Circuit Court of Appeals or the district
courts within this Circuit. Other circuit and district courts,
however, have done so. “If the plaintiffs are similarly
situated, the collective action proceeds to trial; but if they
are not, ‘the class is decertified, the claims of the opt-in
plaintiffs are dismissed without prejudice, and the class
representative may proceed on his or her own claims.’” Zivali
v. AT&T Mobility, LLC, 784 F. Supp. 2d 456, 460 (S.D.N.¥. 2011)

(quoting Lee v. ABC Carpet & Home, 236 F.R.D. 193, 197 (S.D.N.Y.

 

 

2006)). “*[(W]hen a collective action is decertified, it reverts
to one or more individual actions on behalf of the named
plaintiffs,’ -- which is just what happens when a Rule 23 class
is decertified: the unnamed class members go poof and the named
plaintiffs’ claims revert to being individual claims.”

Espenscheid v. DirectSat USA, LLC, 688 F.3d 872, 877 (7th Cir.

 

 

2012) (quoting Alvarez v. City of Chi., 605 F.3d 445, 450 (7th

 

Cir. 2010)); see also Roberson v. Rest. Delivery Devs., LLC, 320

 

F. Supp. 3d 1309, 1322 (M.D. Fla. 2018) (dismissing all of the
opt-in plaintiffs’ claims without prejudice and proceeding with
named plaintiff’s individual claims).

In the case at hand, the Court certified a class for the

Plaintiffs’ FLSA claims that was co-extensive with the Wage Act

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claim class. See Tr. Rulings 10:13-15; Tr. Summ. J. 6:17. To
dismiss without prejudice the Opt-In Plaintiffs’ FLSA claims
while maintaining the Plaintiffs’ Wage Act class certification,
thereby forcing the Opt-In Plaintiffs to re-file any viable
individual FLSA claim(s) appears to be unnecessarily burdensome
and not in the interest of judicial economy.

Accordingly, the Court provisionally decertifies the class
for the purposes of the Plaintiffs’ FLSA claim, meaning that it
does not currently put the decertification into effect. The
above appears best to accord with the present procedural posture
of the case as a whole, as well as with considerations of
judicial economy and fairness.

IV. CONCLUSION

A. With respect to the Plaintiffs’ Wage Act claim, the
Court rules that:

1. Although at the time of trial the Plaintiffs had
not then exhausted their administrative remedies in accordance
with Massachusetts General Laws chapter 149, section 150, the
Court nevertheless had jurisdiction to consider and make rulings
concerning the Wage Act claim.

2. Compensation received by the Plaintiffs for
private detail work constitutes “wages,” and the Plaintiffs are
“employees” under Massachusetts General Laws chapter 149,

sections 148 and 148B.

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3. Massachusetts General Laws chapter 44, section
53C requires that the person requesting a private detail must
pay the ten percent administrative fee, and the City violated
Massachusetts General Laws chapter 44, section 53C if and to the
extent that it deducted a ten percent administrative fee from
the Officers’ wages for private detail work instead of charging
the third party that had requested the private detail.

4. Article 23, section 3 of the Agreement --
specifically the phrase “maximum patrolman’s rate of pay” -- is
ambiguous, and the phrase “maximum patrolman’s rate of pay” in
Article 23, section 3 of the Agreement refers to the rate of pay
of the Patrolman who, in addition to his “base pay,” had
accumulated the maximum amount of additional benefits during a
certain time period, embodied in salary augments, namely Quinn
Bill pay, hazardous duty pay, longevity pay, and night
differential.

5. Multipliers must be taken into account when
calculating an applicable detail rate because the Agreement is a
partially integrated document.

B. With respect to the Plaintiffs’ FLSA claim, the Court
rules that:

1. The Court provisionally decertifies the class for

the purposes of the Plaintiffs’ FLSA claim.

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2. The Plaintiffs failed to demonstrate that the
City willfully violated the FLSA. In accordance with 29 U.S.C.
§ 255(a), the limitation period applicable in this case
therefore is two years.

3. Pursuant to 29 U.S.C § 256, the two-year
limitation period ends on August 28, 2019 (for the Named
Plaintiffs), the opt-in date of August 21, 2020 (for the
majority of the Opt-In Plaintiffs), and April 15, 2021 (for the
Opt-In Plaintiffs Kenneth Watkins, Amanda Yanovitch, and
Lieutenant Richard Correale).

4. The point in time at which a cause of action
under the FLSA accrues for the purposes of the application of 29
U.S.C. § 255(a) is different for each individual Plaintiff,
depending on whether and to what extent the requirements of 29
U.S.C. § 207(a) (1) can be shown to have been met.

5. Each individual Plaintiff in this matter is
required to demonstrate the following to satisfy the
requirements of 29 U.S.C. § 207(a) (1) in the present action --

Within a time period of two years between August 28, 2017
and August 28, 2019 (for the Named Plaintiffs), August 21, 2018
and August 21, 2020 (for the Opt-In Plaintiffs), and April 15,
2019 and April 15, 2021 (for the Opt-In Plaintiffs Kenneth

Watkins, Amanda Yanovitch, and Lieutenant Richard Correale):

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An individual Plaintiff worked more than forty hours in one
or more workweeks;

A workweek runs from Saturday of one calendar week until
Saturday of the following calendar week;

An individual Plaintiff performed city detail work during
any such workweek;

The hourly detail rate for city detail paid to an
individual Plaintiff was less than one and one half times
the individual Plaintiff’s regular rate of pay;

An individual Plaintiff’s regular rate of pay is a
workweekly rate that includes individually applicable
augments, such as, but not limited to, shift-differential
pay, longevity pay, and career-incentive (“Quinn Bill”)
pay;

The regular hourly rate to be calculated for each
individual Plaintiff per workweek is the sum of the
“Current Amt” listed as “Regular” on an individual
Plaintiff's Paystub and the value of any salary augment (s)
relevant during that workweek applicable to an individual
Plaintiff, divided by forty;

For payments made to individual Plaintiffs on a bi-weekly
basis, the same calculation applies, using a divisor of

eighty;

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~ The City may demonstrate that individual City Departments
are to be considered “separate and independent employer[s]”
under 29 U.S.C. § 207(p) (1) on the basis of evidence
proffered at trial and facts of which the Court can take
judicial notice;

- Any hours of city detail work performed by an individual
Plaintiff for which the City is able to make such a showing
are to be disregarded for the purpose of calculating
overtime in accordance with 29 U.S.C. § 207(a) (1) for that
particular Plaintiff.

c. The calculation of individual claims in this matter --
whether brought in the form of a Wage Act or FLSA claim -- is to
be performed in accordance with the requirements further set out
in the Timing Order, and the Court does not express an opinion,
nor does it enter judgment, with respect to any individual

Plaintiff’s claims in this matter at this time.

SO ORDERED.
fideo A Young
WILLIAM G. foury
JUDGE

of the
UNITED STATES!4

 

14 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 43 years.

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